     Case 6:19-bk-11281-RB                     Doc       Filed 06/10/25 Entered 06/10/25 14:41:44                                Desc Main
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  Fill in this information to identify the case:

     Debtor 1       Nadia Michelle Lipscomb

     Debtor 2
  United States Bankruptcy Court for the: Central District of California

  Case number :         6:19-bk-11281-RB


Official Form 410S1
Notice of Mortgage Payment Change

12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as
a supplement to your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
       Name of            NewRez LLC d/b/a Shellpoint Mortgage Servicing                     Court claim no.                                      7
       creditor:                                                                             (if known):

       Last 4 digits of any number you                                                       Date of payment change:                   07/01/2025
       use to identify the debtor's                              5952                        Must be at least 21 days after date of
       account:                                                                              this notice

                                                                                             New total payment:                         $897.43
                                                                                             Principal, interest, and escrow, if any


Part 1: Escrow Account Payment Adjustment

1.      Will there be a change in the debtor's escrow account payment?
        [ ] No
        [X] Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                      Describe the basis for the change. If a statement is not attached, explain why:

                             Current escrow payment: $326.03                                   New escrow payment: $354.58




Part : 2 Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's variable-rate
   account?
        [X] No
        [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy
                      law. If a notice is not attached, explain why:

                       Current interest rate:                              New interest rate:
                       Current Principal and interest payment:             New principal and interest payment:



Part 3: Other Payment Change

                3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
                     [X] No
                      [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
                      modification
                                    agreement. (Court approval may be required before the payment change can take effect).
                                  Reason for change:
                                      Current mortgage payment:                                New mortgage payment:
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Debtor 1 Nadia Michelle Lipscomb                                          Case number (if known)               6:19-bk-11281-RB
         First Name                             Middle Name
         Last Name




Part 4:      Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
 number.


Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.



         /s/Christopher Giacinto                                                    Date       05-06-2025
    Signature


Print:                   Christopher Giacinto                            Title Authorized Agent for Creditor

Company                  Padgett Law Group

Address                  6267 Old Water Oak Road, Suite 203

                         Tallahassee FL, 32312

Contact phone            (850) 422-2520                 Email             PLGinquiries@padgettlawgroup.com
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA
                                                           RIVERSIDE DIVISION

In Re;
Nadia Michelle Lipscomb                                                        Case No.: 6:19-bk-11281-RB

Debtor(s)                                                                      Chapter: 13

                                                            CERTIFICATE OF SERVICE


    I, hereby certify that on June 10,2025, a true and correct copy of the foregoing document was served via United States Mail with adequate prepaid
                                                  postage and/or electronically via the Court’s ECF system:


Service by U.S. First Class Mail

Debtor
Nadia Michelle Lipscomb
3033 Andreas Palm Way
Perris, CA 92571

By Electronic Mail
Attorney for Debtor
Benjamin Heston
100 Bayview Circle, Suite 100
Newport Beach, CA 92660

Trustee
Rod Danielson (TR)
3787 University Avenue
Riverside, CA 92501

US Trustee
United States Trustee (RS)
3801 University Avenue, Suite 720
Riverside, CA 92501-3200


                                                                         /s/   Christopher Giacinto
          Case 6:19-bk-11281-RB                            Doc       Filed 06/10/25 Entered 06/10/25 14:41:44                                           Desc Main
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                                                                            Newrez LLC
                                                                                  P.O. Box 10826
                                                                                  Greenville, SC 29603
                                                                                  For Inquiries: 866-317-2347



                                                                                                               Analysis Date:                                     April 03, 2025
       NADIA LIPSCOMB                                                                                          Loan:
       3303 ANDREAS PALM WAY                                                                                   Property Address:
       PERRIS CA 92571                                                                                         3303 ANDREAS PALMS WAY
                                                                                                               PERRIS, CA 92571




                                                Annual Escrow Account Disclosure Statement - Account History
        THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
      DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
           INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

     The following is an overview of your escrow account with Newrez LLC. It contains the history of escrow payments made on your behalf in the prior
     year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or decreases with your
     escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also increase. If the escrow
     payment decreases, your mortgage payment will decrease.
Payment Information       Contractual      Effective Jul01, 2025        Prior Esc Pmt             July 01, 2024        Escrow Balance Calculation
P & I Pmt:                    $542.85                     $542.85       P & I Pmt:                      $542.85        Due Date:                                      May 01, 2025
Escrow Pmt:                   $326.03                     $354.58       Escrow Pmt:                     $326.03        Escrow Balance:                                    -$366.15
Other Funds Pmt:                $0.00                       $0.00       Other Funds Pmt:                  $0.00        Anticipated Pmts to Escrow:                         $652.06
Asst. Pmt (-):                  $0.00                       $0.00       Asst. Pmt (-):                    $0.00        Anticipated Pmts from Escrow (-):                     $0.00
Reserve Acct Pmt:               $0.00                       $0.00       Resrv Acct Pmt:                   $0.00
Total Payment:                $868.88                     $897.43       Total Payment:                  $868.88        Anticipated Escrow Balance:                          $285.91

Shortage/Overage Information                       Effective Jul01, 2025          Cushion Calculation: Because Newrez LLC does not set your tax amounts or insurance
Upcoming Total Annual Bills                                     $3,769.68         premiums, your escrow balance contains a cushion of 628.28. A cushion is an
Required Cushion                                                  $628.28         additional amount of funds held in your escrow in order to prevent the balance from
Required Starting Balance                                       $1,256.56         becoming overdrawn when an increase in the disbursement amount occurs. Your
Escrow Shortage                                                  -$970.65         lowest monthly balance should not be below 628.28 or 1/6 of the anticipated
Surplus                                                             $0.00         payment from the account.


      ** Since you are in an ac ve bankruptcy, your new payment shown above is the post-pe on payment amount.
     This is a statement of actual activity in your escrow account from July2024 to June 2025. Last year's anticipated activity (payments to and from
     your escrow account) is next to the actual activity.
                         Payments to Escrow                  Payments From Escrow                                                  Escrow Balance
        Date             Anticipated      Actual             Anticipated       Actual                 Description                  Required             Actual
                                                                                                Starting Balance                    1,220.66         (1,272.28)
       Jul 2024                305.16            326.03                                    *                                        1,525.82           (946.25)
       Aug 2024                305.16                                                      *                                        1,830.98           (946.25)
       Aug 2024                                   55.13                                    * Escrow Only Payment                    1,830.98           (891.12)
       Sep 2024                305.16            326.03                                    *                                        2,136.14           (565.09)
       Oct 2024                305.16            326.03                                    *                                        2,441.30           (239.06)
       Nov 2024                305.16                                                      *                                        2,746.46           (239.06)
       Nov 2024                                                                   1,884.84 * County Tax                             2,746.46         (2,123.90)
       Dec 2024                305.16          1,304.12         1,830.97                   * County Tax                             1,220.65           (819.78)
       Jan 2025                305.16                                                      *                                        1,525.81           (819.78)
       Jan 2025                                  721.16                                    * Escrow Only Payment                    1,525.81            (98.62)
       Feb 2025                305.16                                                      *                                        1,830.97            (98.62)
       Mar 2025                305.16            652.06                                    *                                        2,136.13            553.44
       Mar 2025                                                                   1,884.84 * County Tax                             2,136.13         (1,331.40)
       Apr 2025                305.16                           1,830.97                   * County Tax                               610.32         (1,331.40)
       May 2025                305.16                                                      *                                          915.48         (1,331.40)
       Jun 2025                305.16                                                      *                                        1,220.64         (1,331.40)
                                                                                             Anticipated Transactions               1,220.64         (1,331.40)
       Jun 2025                                 652.06 P                                                                                               (679.34)
                            $3,661.92         $4,362.62        $3,661.94          $3,769.68
       An asterisk (*) indicates a difference from a previous estimate either in the date or the amount . If you want a further explanation, please call our toll -free number.
       P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown .
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                                                                                      866-317-2347

                                                                                                        Analysis Date:                                  April 03, 2025
                                                                                                        Loan:

                                     Annual Escrow Account Disclosure Statement - Projections for Coming Year
       THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
     DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
          INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

    This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.
    Your unpaid pre-petition escrow Amount is $283.88. This amount has been removed from the projected starting balance.

    Original Pre-Petition Amouont $2,649.21, Paid Pre-Petition Amount $2,365.33, Remaining Pre-Petition Amount $283.88.
        Date                 Anticipated Payments                                                                       Escrow Balance
                           To Escrow        From Escrow           Description                                    Anticipated           Required
                                                                  Starting Balance                                   285.91             1,256.56
    Jul 2025                  314.14                                                                                 600.05             1,570.70
    Aug 2025                  314.14                                                                                 914.19             1,884.84
    Sep 2025                  314.14                                                                               1,228.33             2,198.98
    Oct 2025                  314.14                                                                               1,542.47             2,513.12
    Nov 2025                  314.14                                                                               1,856.61             2,827.26
    Dec 2025                  314.14         1,884.84             County Tax                                         285.91             1,256.56
    Jan 2026                  314.14                                                                                 600.05             1,570.70
    Feb 2026                  314.14                                                                                 914.19             1,884.84
    Mar 2026                  314.14                                                                               1,228.33             2,198.98
    Apr 2026                  314.14         1,884.84             County Tax                                        (342.37)              628.28
    May 2026                  314.14                                                                                 (28.23)              942.42
    Jun 2026                  314.14                                                                                 285.91             1,256.56
                            $3,769.68        $3,769.68
     G – Pending Disbursements prior to the bankruptcy filing date. Pre-petition disbursements.

   (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

   Your ending balance from the last month of the account history (escrow balance anticipated) is 285.91. Your starting
   balance (escrow balance required) according to this analysis should be $1,256.56. This means you have a shortage of 970.65.
   This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
   deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 24 months.
   We anticipate the total of your coming year bills to be3,769.68. We divide that amount by the number of payments expected during the coming year to
   obtain your escrow payment.
    New Escrow Payment Calculation
     Unadjusted Escrow Payment                                   $314.14
     Surplus Reduction:                                            $0.00
     Shortage Installment:                                        $40.44
     Rounding Adjustment Amount:                                   $0.00
     Escrow Payment:                                             $354.58

                                             Please read the following important notices as they may affect your rights.

Newrez LLC dba Shellpoint Mortgage Servicing is a debt collector. This is an attempt to collect a debt and any information obtained will be used for that
purpose. Newrez LLC dba Shellpoint Mortgage Servicing's NMLS ID is

If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice is to advise
you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability to any recipient hereof,
who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be subject to the automatic stay of
Section 362 of the United States Bankruptcy Code.

Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important protections for you,
including interest rate protections and prohibiting foreclosure under most circumstances during and twelve months after the servicemember’s military or
other service. Counseling for covered servicemembers is available from Military OneSource(800-342-9647) and the United States Armed Forces Legal
Assistance or other similar agencies. For more information, please visit the Military OneSource website www.militaryonesource.mil/.

Notice of Error or Information Request Address
You have certain rights under Federal law related to resolving errors in the servicing of your loan and requesting information about your loan. If you want
to request information about your loan or if you believe an error has occurred in the servicing of your loan and would like to submit an Error Resolution
or Informational Request, please write to us. Additionally, if you believe we have furnished inaccurate information to credit reporting agencies, please
write to us with specific details regarding those errors and any supporting documentation that you have and we will assist you. Error Resolution,
including concerns of inaccurate information sent to credit reporting agencies, or requests for information should be sent to the following address:

Newrez LLC
P.O. Box 10826
Greenville, SC 29603

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may be reflected
in your credit report.
          Case
A successor          6:19-bk-11281-RB
              in interest                                Doc interest
                          is someone who acquires an ownership      Filedin 06/10/25
                                                                              a property securedEntered
                                                                                                 by a mortgage06/10/25        14:41:44
                                                                                                                loan by transfer upon the death Desc
                                                                                                                                                 of a     Main
                                                                  Document
relative, as a result of a divorce or legal separation, through certain                   Pagefrom
                                                                        trusts, between spouses,   6 of   6 to a child, or when a borrower who is a joint
                                                                                                       a parent
tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or email to start the
confirmation process.

Our system of record has your preferred language as English.

If you prefer to receive communication in a language other than English, please contact us at866-317-2347 to speak with a translator in your preferred
language about the servicing of your loan or a document you received.

Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contáctenos en el 866-317-2347 para hablar con un traductor en el
idioma de su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.

如果您要使用英语以外的其他语言进行交流，请致电                                           866-317-2347，我们将根据您首选的语言安排相应的译员，与您就贷款服务事项或您所接
收的文件进行商讨。

Please note that we operate as Newrez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.

California Residents
As required by law, you are hereby notified that a negative credit bureau report reflecting on your credit record may be submitted to a credit reporting
agency if you fail to fulfill your credit obligation.

The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act require that, except under unusual
circumstances, collectors may not contact you before8 a.m. or after 9 p.m. They may not harass you by using threats of violence or arrest or by using
obscene language. Collectors may not use false or misleading statements or call you at work if they know or have reason to know that you may not
receive personal calls at work. For the most part, collectors may not tell another person, other than your attorney or spouse, about your debt.
Collectors may contact another person to confirm your location or enforce a judgment. For more information about debt collection activities, you may
contact the Federal Trade Commission at1-877-FTC-HELP or www.ftc.gov.
California Residentes
Como es requerido por la ley usted esta siendo notificado por este medio que un reporte de crédito negativo afectando su reporte de crédito puede ser
remitido a una agencia de reporte de créditos, si usted no puede satisfacer los términos de su obligación.

El acto estatal de Rosenthal Fair Debt Collection Practices, y el acto federal de Fair Debt Collection Practices requieren que, a menos de circunstancias
inusuales, los cobradores no podrán contactarlo antes de las 8 a.m. o después de las 9 p.m. Ellos no lo podrán acosar usando amenazas violentas o
arrestarlo o usar un lenguaje ofensivo. Los cobradores no podrán usar declaraciones falsas o engañosas o llamarlo a su trabajo si ellos saben o tienen
razón para saber que usted no puede recibir llamadas personales en su trabajo. En general, cobradores no le podrán decir a otra persona, aparte de su
abogado o su esposa, acerca de su deuda. Los cobradores se podrán comunicar con otras personas para poder comunicarse con usted, y para entablar
un juicio. Para más información sobre las actividades de colección de deuda, usted puede contactar Federal Trade Commission al1-877-FTC-HELP o
www.ftc.gov.
